           Case 2:90-cv-00520-KJM-DB Document 1773 Filed 03/03/06 Page 1 of 3


 1   PRISON LAW OFFICE                          BINGHAM, McCUTCHEN, LLP
     DONALD SPECTER Bar No.: 83925              WARREN E. GEORGE Bar No.: 53588
 2   STEVEN FAMA Bar No.: 99641                 Three Embarcadero Center
     KEITH WATTLEY Bar No.: 203366              San Francisco, California 94111
 3   General Delivery                           Telephone: (415) 393-2000
     San Quentin, California 94964
 4   Telephone: (415) 457-9144
 5   ROSEN, BIEN & ASARO, LLP                   HELLER, EHRMAN, WHITE &
     MICHAEL W. BIEN Bar No.: 096891            McAULIFFE
 6   JANE E. KAHN Bar No.: 112239               RICHARD L. GOFF Bar No.: 36377
     THOMAS NOLAN Bar No.: 169692               701 Fifth Avenue
 7   155 Montgomery Street, 8th Floor           Seattle, Washington 98104
     San Francisco, California 94104            Telephone: (206) 447-0900
 8   Telephone: (415) 433-6830
 9   THE LEGAL AID SOCIETY–
     EMPLOYMENT LAW CENTER
10   CLAUDIA CENTER Bar No.: 158255
     LEWIS BOSSING Bar No.: 227402
11   600 Harrison Street, Suite 120
     San Francisco, CA 94107
12   Telephone: (415) 864-8848
13
     Attorneys for Plaintiffs
14
                                UNITED STATES DISTRICT COURT
15
                                EASTERN DISTRICT OF CALIFORNIA
16
17   RALPH COLEMAN,                            ) No.: Civ S 90-0520 LKK-JFM
                                               )
18           Plaintiffs,                       ) ORDER REGARDING DEFENDANTS’
                                               ) REVISED PROGRAM GUIDE
19   vs.                                       )
                                               )
20   ARNOLD SCHWARZENEGGER, et al.,            )
                                               )
21           Defendants                        )
                                               )
22                                             )
                                               )
23                                             )
                                               )
24                                             )
                                               )
25
26
27
28

             -1 -
         Case 2:90-cv-00520-KJM-DB Document 1773 Filed 03/03/06 Page 2 of 3


 1          The Special Master’s Report and Recommendations on Defendants’ Revised Program
 2   Guide was filed on February 3, 2006. Defendants filed the January 2006 Revised Program
 3   Guide on February 3, 2006. Defendants filed limited objections to the Special Master’s Report
 4   on February 14, 2006, concerning issues of classification and disability discrimination.
 5   Plaintiffs filed objections on February 17, 2006, listing and clarifying their remaining
 6   objections to the January 2006 Revised Program Guide. The court has reviewed the Special
 7   Master’s Report and the objections to the Report filed by the parties.
 8          Good cause appearing,
 9          IT IS HEREBY ORDERED THAT:
10          1.      The court hereby approves the undisputed provisions of the January 2006
11   Revised Program Guide, and orders defendants to immediately implement all such provisions.
12          2.      The following disputed sections of the Revised Program Guide would, if
13   implemented, reduce the amount of care currently mandated by the 1997 Program Guides. As
14   to these disputed sections, the requirements of the 1997 Program Guide shall continue to apply
15   until plaintiffs’ objections have been heard and decided:
16                  a.     On page 12-7-4 of the Revised Program Guide, the defendants’ proposed
17           reduction in daily psych tech rounding for non-MHSDS inmates in administrative
18           segregation to once a week rounds. The 1997 Program Guide requirement of daily
19           rounds shall continue to apply.
20                  b.     On page 12-7-6 of the Revised Program Guide, the defendants’ proposed
21           reduction in individual clinical case management contacts for 3CMS inmates housed in
22           administrative segregation to every other week clinical contacts. The 1997 Program
23           Guides requirement of weekly clinical contacts shall continue to apply.
24          3.      Plaintiffs have filed and maintained objections to various additional provisions in
25   the Revised Program Guides. Defendants are hereby ordered to immediately implement these
26   sections of the Revised Program Guide, even though they remain in dispute. These remaining
27   disputes are set forth in plaintiffs’ objections. In addition, plaintiffs request that certain
28   additional requirements be added to the Revised Program Guide. Good cause appearing, this


                                                        1
         Case 2:90-cv-00520-KJM-DB Document 1773 Filed 03/03/06 Page 3 of 3


 1   matter is set for status conference on April 26, 2006 at 3:00 p.m. in Courtroom # 4 to
 2   determine an appropriate procedure for hearing plaintiffs’ objections and scheduling these
 3   remaining issues for resolution.
 4          4.     The special master and the parties are directed to finalize the provisions of the
 5   Program Guide related to the review of psychiatrist qualifications, staffing ratios, CPR and
 6   video monitoring within 30 days from the date of this order. The parties are also directed to
 7   report to the court concerning the resolution of those matters within 45 days from the date of
 8   this order.
 9   DATED: March 2, 2006.
10                                                    /s/Lawrence K. Karlton
                                                      Lawrence K. Karlton
11                                                    Senior Judge
                                                      United States District Court
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                      2
